                  Case 24-10078-CTG               Doc 107       Filed 07/18/24         Page 1 of 2




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                        Chapter 7

IPwe, Inc., 1                                                 Case No. 24-10078 (CTG)

                                   Debtor.                    Related to D.I. 87 and 97



                                    NOTICE OF SUCCESSFUL BIDDER
          PLEASE TAKE NOTICE that on May 9, 2024, George L. Miller, the duly appointed
  Trustee, (“Trustee”) filed a Motion of George L. Miller, Chapter 7 Trustee, for Entry of: (A) an
  Order (I) Approving Bid Procedures in Connection with the Sale of the Debtor’s Assets,
  (II) Scheduling an Auction for and Hearing to Approve Sale, (III) Approving Notice of Auction
  and Sale Hearing, (IV) Approving Procedures for the Assumption and Assignment of Certain
  Executory Contracts and Unexpired Leases, (V) Approving Form and Manner of Notice Thereof,
  and (VI) Granting Related Relief; and (B) an Order Authorizing and Approving (I) the Sale of the
  Debtor’s Assets Free and Clear of Liens, Claims, Rights, Encumbrances, and Other Interests,
  (II) Assumption and Assignment of Certain Executory Contracts and Unexpired Leases and
  (III) Related Relief [Docket No. 87] (the “Motion”) with the United States Bankruptcy Court for
  the District of Delaware (the “Bankruptcy Court”) seeking, among other things, entry of an order
  (the “Sale Order”) authorizing and approving: (a) the sale of Debtor’s assets (the “Assets”) free
  and clear of liens, claims, encumbrances, and other interests, with all such liens, claims,
  encumbrances, and other interests attaching with the same validity and priority to the sale
  proceeds, except as set forth in the applicable Purchase Agreement and subject to higher or
  otherwise better offers (the “Sale”); and (b) procedures for the assumption and assignment of
  executory contracts and unexpired leases (collectively, the “Contracts”). Please note that all
  capitalized terms used but not defined herein shall have the meanings set forth in the Motion.
         PLEASE TAKE FURTHER NOTICE that on May 23, 2024, the Bankruptcy Court
  entered an order (the “Bid Procedures Order”) [Docket No. 97] granting certain of the relief
  sought in the Motion, including, among other things, approving: (a) the Bid Procedures (the “Bid
  Procedures”) for the Sale of the Assets; and (b) procedures for the assumption and assignment of
  the Contracts (the “Assumption Procedures”).
         PLEASE TAKE FURTHER NOTICE that, pursuant to the Bid Procedures, the Bid
  Deadline was set for July 16, 2024 at 5:00 p.m. (ET).



  1
           The last four digits of the Debtor’s federal tax identification number are 4619. The Debtor’s address is 2515
           McKinney Avenue, Suite 100B, Dallas, Texas 75201.



  52666338.2
             Case 24-10078-CTG        Doc 107      Filed 07/18/24   Page 2 of 2




       PLEASE TAKE FURTHER NOTICE that pursuant to the Bid Procedures, the Trustee
received two Qualified Bids.
       PLEASE TAKE FURTHER NOTICE that pursuant to the Bid Procedures, the Trustee
held an Auction attended by the two Qualified Bidders. The Auction resulted in Urbana Partners,
LLC being selected as the winning bidder for the Assets.
       PLEASE TAKE FURTHER NOTICE that pursuant to the Bid Procedures, Granicus IP,
LLC is the Next-Highest Bidder with respect to the Assets.
       PLEASE TAKE FURTHER NOTICE that the Trustee will seek approval of the sale of
the Assets to Urbana Partners, LLC at a hearing scheduled to commence on July 29, 2024 at 10:00
a.m. (ET) (the “Sale Hearing”) before the Honorable Craig T. Goldblatt, United States
Bankruptcy Judge for the Bankruptcy Court for the District of Delaware, 824 N. Market Street,
Third Floor, Courtroom 7, Wilmington, DE 19801.
Dated: July 18, 2024
                                           SAUL EWING LLP

                                           /s/ Evan T. Miller
                                           Evan T. Miller (DE Bar No. 5364)
                                           1201 N. Market Street, Suite 2300
                                           P.O. Box 1266
                                           Wilmington, DE 19899
                                           Telephone: (302) 421-6800
                                           Email: evan.miller@saul.com

                                           -and-

                                           Jorge Garcia (pro hac vice forthcoming)
                                           701 Brickell Avenue, Suite 1700
                                           Miami, FL 33131
                                           Telephone: (305) 428-4500
                                           Email: jorge.garcia@saul.com

                                           Counsel for George L. Miller, in his capacity as
                                           Chapter 7 Trustee




                                              2
52666338.2
